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AO 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the CERTIFIED TRUE COPY fy

ATTEST: WELLEAM M. MCCOOL/ 7

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Western District of Washington Clerk, U.S, District Court |)

Western District of Washington

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Deputy Clerk

 

  

In the Matter of the Search of

)
(Briefly describe the property to be searched )
or identify the person by name and address) ) Case No. MJ21-241
)
)

SUBJECT PARCEL bearing delivery confirmation no.
9405509205568340949106, more fully described in Attachment
A attached hereto

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Western District of Washington

 

(identify the person or describe the property to be searched and give its location):

See Attachment A. Attached hereto and incorporated by reference.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B. Attached hereto and incorporated herein by reference.

YOU ARE COMMANDED to exccute this warrant on or before (not to exceed 14 days)
@ in the daytime 6:00 a.m. to 10:00 p.m. ‘Cat any time in the day or night because good cause has been established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to any U.S. Magistrate Judge in West. Dist. of Washington
(United States Magistrate Judge)

 

Cl Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

© for —_days (not to exceed 30) + until, the facts justifying, the later specific date of f’)

 

  

Date and time issued: 04/22/2021 eestSeertr \\ ‘SY

 

 

   

Judge’s signature

City and state: Seattle, Washington Michelle L. Peterson, U.S. Magistrate Judge

 

 

Printed name and title

2021R00407
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Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

M3 1-941] Me a dy) sit USS
Inventory mee in the presence of

opp. wobeaal Ee blr

 

 

 

 

Inventory of the property taken and name of any person(s) seized:
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Mera HeTem ss.

       

“Bee PD

VV VK
Yoo

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Sate: > 201 Mvh -//)

[Executing officer’s signature

Nees | Vedag US Pq talS4zrV

Printed name and title

 

 

 
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ATTACHMENT A
Parcel to be searched
L One USPS Priority Mail parcel addressed to “Melissa Ntrequire 2915 288th

ST E Roy, WA 98580-8559” with a return address of “Beach Skin 43143 Lancaster blvd
Lancaster, CA 93535” This parcel measures approximately 8.6” X 5.4” X 1.75” with a
weight of approximately 1 pound, 0 ounces. This parcel is postmarked April 10. 2021,
from zip code 93535 and carries $7.27 in postage. The delivery confirmation number is
9405509205568340949106. The parcel is currently located at the USPS Seattle
Processing and Distribution Center, 10700 27th Ave. S., Seattle, Washington.

ATTACHMENT A - | UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
PARCEL TO BE-SEARCHED SEATTLE, WASHINGTON 98101

USAO# 2021R00407 [BEACH SKIN to NTREQUIRE] (206) 553-7970
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ATTACHMENT B
Items to be seized

The following items that constitute evidence, instrumentalities, or fruits of
violations of Title 21, United States Code, Section(s) 841(a)(1), distribution and
possession with intent to distribute controlled substances, and 843(b), unlawful use of a
communication facility, including the U.S. mails, to facilitate the distribution of
controlled substances:

a. Controlled substances, including, but not limited to, cocaine, crack
cocaine, fentanyl, heroin, hashish, marijuana, methamphetamine, MDMA, methadone,
oxycodone, and Oxycontin;

b. Monetary instruments, including but not limited to, currency, money
orders, bank checks, or gift cards;

C. Controlled substance-related paraphernalia;

d. Documentary evidence relating to the purchase, sale, and/or
distribution of controlled substances;

é. Notes, letters and other items which communicate information
identifying the sender and/or recipient or pertaining to the contents of the mailing; and

f. Fingerprints and/or handwriting, to identify who handled and/or
mailed the parcel.

ATTACHMENT B - 1 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
ITEMS TO BE SEIZED SEATTLE, WASHINGTON 98101

USAO# 2021R00407 [BEACH SKIN to NTREQUIRE] (306) 553-7970
